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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-cv-02234-CMA-CBS

   JAMES A. WIESNER, an individual,

   Plaintiff,

   v.

   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY, and
   PETER ARGUELLO, in his Official Capacity as Program Agency Director of Community
   Justice Services, a division of the Boulder County Community Services Department,

   Defendants.


                           STIPULATION AND PROTECTIVE ORDER


           COME NOW the Parties, Plaintiff James Wiesner and Defendants Board of County

   Commissioners of Boulder County and Peter Arguello, by and through their respective counsel,

   Dipak P. Patel, Esq. and Madeline J. Meacham, Deputy County Attorney and hereby stipulate

   and move the Court for a Protective Order pursuant to Fed. R. Civ. P. 26(c) concerning the

   treatment of Confidential Information (as defined below), and as grounds therefore, state as

   follows:

           1.     In this action, the Parties will be producing and/or seeking Confidential

   Information (as defined in Paragraph 2 below). The Parties also anticipate seeking additional

   Confidential Information during discovery and that there will be questioning concerning

   Confidential Information in the course of depositions or in written discovery requests. The

   Parties assert the disclosure of such information outside the scope of this litigation could result

   in significant injury to one or more of the Parties’ business or privacy interests. The Parties have

   entered into this Stipulation and request the Court enter the within Protective Order for the
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   purpose of preventing the disclosure and use of Confidential Information except as set forth

   herein.

             2.   “Confidential Information” means any document, file, portions of files, writings,

   drawings, audio or video recordings, photographs, images, transcribed testimony, extract,

   abstract, chart, summary, note or copy made therefrom and other data or data compilation,

   including without limitation, any documents produced to any party pursuant to the disclosure or

   discovery duties created by the Federal Rules of Civil Procedure, responses to interrogatories,

   responses to discovery requests, responses to requests for admissions - not intended to be made

   available to the public by one or more of the Parties and designated by one of the parties in the

   manner provided in Paragraph 5.

             3.   Information designated “CONFIDENTIAL” shall be information that is

   confidential and implicates common law and statutory privacy interests of current or former

   employees and/or clients of Boulder County and any current or previous applicants for any

   position within Boulder County.     In addition, should any personnel, client or employment

   records, including applications submitted by any person for any position within Boulder County

   be produced by any party to this lawsuit in discovery, such documents shall be subject to the

   terms and conditions of this Protective Order and, except as provided herein, subject to the

   provisions of C.R.S. §24-72-204(3)(a)(I) and (II)(A)(concerning disclosure of medical, mental

   health and sociological records, and personnel records); C.R.S. §24-72-204(2)(a)(I) and (II) and

   C.R.S. §24-72-305(5). Confidential Information shall not be disclosed or used for any purpose

   except the preparation and trial of this case.

             4.   In order to issue a Protective Order authorizing the release of records and

   information related to substance abuse treatment, 42 C.F.R. §2.64(d) provides that the Court
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   must find that “good cause” exists to issue the order. The regulations further provide that, to

   make this good cause determination the Court must find that:

          (1)      Other ways of obtaining the information are not available or would not be

                  effective and:

          (2)      The public interest and need for the disclosure outweigh the potential injury to

                    the patient, the physician or therapist-patient relationship and the treatment

                    services.

   The parties stipulate that good cause exists to release the documents, and the order is limited so

   as to comply with 42 C.F.R. §2.64(e). The parties further stipulate that the disclosure is in

   connection with litigation in which the patient offers testimony or other evidence pertaining to

   the content of the confidential communications. The parties further stipulate that, in any Court

   proceeding on this issue the court and pleadings will refer to the patient by his/her initials.

          5.      CONFIDENTIAL documents, materials, and/or information (collectively

   “Confidential Information”) shall not, without the consent of the party producing it or further

   Order of the Court, be disclosed except that such information may be disclosed to:

                  (a)     attorneys actively working on this case;

                  (b)     persons regularly employed or associated with the attorneys actively

                          working on the case whose assistance is required by said attorneys in the

                          preparation for trial, at trial, or at other proceedings in this case;

                  (c)     the parties, including the plaintiff and designated representatives for

                          Defendant Board of County Commissioners of Boulder County and

                          Defendant Peter Arguello;

                  (d)     expert witnesses and consultants retained in connection with this
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                          proceeding, to the extent such disclosure is necessary for preparation, trial

                          or other proceedings in this case;

                  (e)     the Court and its employees ("Court Personnel");

                  (f)     stenographic reporters who are engaged in proceedings necessarily

                          incident to the conduct of this action;

                  (g)     deponents, witnesses, or potential witnesses; and

                  (h)     other persons by written agreement of the parties.

          6.      Where Confidential Information is produced, provided or otherwise disclosed by

   a Party pursuant to Fed. R. Civ. P. 26 or in response to any discovery request, it will be

   designated in the following manner:

                  a.      By imprinting the word “Confidential” on the first page or cover of any

                          document produced;

                  b.      By imprinting the word “Confidential” next to or above any response to a

                          discovery request; and

                  c.      With respect to transcribed or videotaped testimony, by giving written

                          notice to opposing counsel designating such portions as “Confidential” no

                          later than ten calendar days after receipt of the transcribed testimony, or

                          by giving oral notice to opposing counsel, contemporaneous with the

                          testimony, designating such portions as “Confidential” or similar words

                          intended to convey restricted dissemination of such information.

          7.      All Confidential Information provided by a Party in response to a discovery

   request or as part of transcribed testimony shall be subject to the following restrictions:

                  a.      It shall be used only for the purpose of this litigation and not for any
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                          business or any other purpose whatsoever;

                  b.      It shall not be communicated or disclosed by any Party’s counsel or a

                          Party in any manner, either directly or indirectly, to anyone except for

                          purposes of this case and unless an affidavit in the form of Exhibit A has

                          been signed.

          8.      Individuals authorized to review Confidential Information pursuant to this

   Protective Order shall hold said Confidential Information in confidence and shall not divulge the

   Confidential Information, either verbally or in writing, to any other person, entity or government

   agency unless authorized to do so by court order.

          9.      The Party’s counsel who discloses Confidential Information shall be responsible

   for assuring compliance with the terms of this Protective Order with respect to persons to whom

   such Confidential Information has been or is disclosed and shall obtain and retain the original

   affidavits signed by qualified recipients of Confidential Information, and shall maintain a list of

   all persons to whom any Confidential Information is disclosed.

          10.     During the pendency of this action, opposing counsel may, upon court order or

   agreement of the parties, inspect the list maintained by counsel pursuant to paragraph 9 above

   upon a showing of substantial need in order to establish the source of an unauthorized disclosure

   of Confidential Information and that opposing counsel are unable otherwise to identify the

   source of the disclosure. If counsel disagrees with opposing counsel’s showing of substantial

   need, then counsel may seek a court order requiring inspection under terms and conditions

   deemed appropriate by the Court.

          11.     No copies of Confidential Information shall be made except by or on behalf of

   counsel in this litigation and such copies shall be made and used solely for purposes of this
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   litigation.

           12.     During the pendency of this litigation, counsel shall retain custody of

   Confidential Information, and copies made therefrom pursuant to paragraph 11 above.

           13.     If opposing counsel objects to the designation of certain information as

   Confidential Information, he or she shall promptly inform the other parties’ counsel in writing of

   the specific grounds of objection to the designation. All counsel shall then, in good faith and on

   an informal basis, attempt to resolve such dispute. If after such good faith attempt, all counsel

   are unable to resolve their dispute, opposing counsel may move for a disclosure order consistent

   with this order. Any motion for disclosure shall be filed within fourteen (14) days of receipt by

   counsel of notice of opposing counsel's objection, and the information shall continue to have

   Confidential Information status from the time it is produced until the ruling by the Court on the

   motion.

           14.     In the event Confidential Information is used in any court filing or proceeding in

   this action, including but not limited to its use at trial, it shall not lose its confidential status as

   between the parties through such use. Confidential Information and pleadings or briefs quoting

   or discussing Confidential Information will not be accepted for filing “under seal” or otherwise

   kept out of the public record in this action, however, except by court order issued upon motion of

   the party seeking to file the documents under seal. Any motion requesting leave to file

   documents under seal shall comply with the requirements of D.C.COLO.LCivR 7.2 and 7.3 and

   demonstrate that the Confidential Information at issue is entitled to protection pursuant to statute

   regulation, contract or case law. The Confidential Information shall be filed in a sealed envelope

   with the following statement typed conspicuously thereon:

                                              CONFIDENTIAL
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   This document is filed under seal. Unless otherwise ordered by the Court, it shall not be

   reproduced for, or shown to, persons other than those entitled to have access to such

   documents under the Protective Order entered on *(date)* in Civil Action No. 09cv02234-

   CMA-CBS.

          15.     The termination of this action shall not relieve counsel or other persons obligated

   hereunder from their responsibility to maintain the confidentiality of Confidential Information

   pursuant to this Protective Order, and the Court shall retain continuing jurisdiction to enforce the

   terms of this Protective Order.

          16.     By agreeing to the entry of this Protective Order, the Parties adopt no position as

   to the authenticity or admissibility of documents produced subject to it.

          17.     Upon termination of this litigation, including any appeals, each Party’s counsel

   shall immediately return to the producing party all Confidential Information provided subject to

   this Protective Order, and all extracts, abstracts, charts, summaries, notes or copies made

   therefrom that are not subject to the attorney-client privilege or the work product doctrine or

   shall provide the producing party with an affidavit from the receiving party’s counsel confirming

   that the materials have been destroyed. At that time, counsel shall also file under seal with this

   Court the list of individuals who have received Confidential Information which counsel shall

   have maintained pursuant to paragraph 9 herein, and counsel shall provide the Court with

   verification that any of counsel's work product made in connection with the instant case

   referencing Confidential Information has been destroyed. Each party’s counsel shall be

   permitted to keep one copy for its files of any work product that may contain or reference

   Confidential Information. Such copies shall be kept in a confidential manner and the

   Confidential Information shall retain its confidential status until it is destroyed as part of
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   counsel’s regular file retention and destruction process.

          18.     Nothing in this Protective Order shall preclude any Party from filing a motion

   seeking further or different protection from the Court under Fed. R. Civ. P. 26(c), or from filing

   a motion with respect to the manner in which Confidential Information shall be treated at trial.

          19.     This Protective Order may be modified by the Court at any time for good cause

   shown following notice to all parties and an opportunity for them to be heard.

   DATED at Denver, Colorado, this 14th day of December, 2009.

                                                        BY THE COURT:




                                                        s/Craig B. Shaffer
                                                        Craig B. Shaffer
                                                        United States Magistrate Judge
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   STIPULATED AND AGREED BY:


   s/Dipak Patel
   Dipak P. Patel, Esq.
   ST. CLAIR & GRESCHLER, P.C.

   ATTORNEY FOR PLAINTIFF




   s/Madeline J. Meacham
   Madeline J. Meacham, Esq.
   Deputy Boulder County Attorney

   ATTORNEY FOR DEFENDANTS,
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                                                 EXHIBIT A

                                             AFFIDAVIT

   STATE OF COLORADO                     )
                                         ) ss.
   COUNTY OF ____________                )


   _________________, swears or affirms and states under penalty of perjury:

   1.     I have read the Protective Order in Case No. _____________, a copy of

          which is attached to this Affidavit.

   2.     I have been informed by ___________________, Esq., counsel for

   ______________, that the materials described in the list attached to this Affidavit are

   confidential Information as defined in the Protective Order.

   3.     I promise that I have not and will not divulge, or undertake to divulge to any

   person or recording device any Confidential Information shown or told to me except as

   authorized in the Protective Order. I will not use the Confidential Information for any

   purpose other than this litigation.

   4.     For the purposes of enforcing the terms of the Protective Order, I hereby submit

   myself to the jurisdiction of the court in the civil action referenced above.

   5.     I will abide by the terms of the Protective Order.

   ____________________________________
   (Signature)
   ____________________________________
   (Print or Type Name)

   Address: ___________________________
   ____________________________________

   Telephone No.: ( ) ___________________


   SUBSCRIBED AND SWORN to before me this ___ day of __________, 20__, by
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   _______________.

         WITNESS my hand and official seal.


                                              ______________________________
                                              Notary Public
   [S E A L]



   My Commission Expires: _______________
